 Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 1 of 9 PageID# 2



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                IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA                    i'     JAN I 0 201/
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                                    Alexandria Division




UNITED STATES OF AMERICA
                                                             (Under Seal)
V.

                                                             l:17-MJ-9


TONIA LATRICE LEWIS


                Defendant.




                             AFFIDAVIT IN SUPPORT OF A
                CRIMINAL COMPLAINT AND ARREST WARRANT


        I, Mikel Brancato, being duly sworn, hereby depose and state the following:

                                          INTRODUCTION


1. I am a United States Postal Inspector with the United States Postal Inspection Service

     ("USPIS") assigned to the Washington Division, having been so employed since

     February2012.1 am currentlyassignedto the NorthernVirginiaMail Theft and Identity

     Theft Team at the Merrifield, Virginia Domicile.

2. Upon entering the USPIS, I completed twelve weeks of investigative training at the

     USPIS CareerDevelopment Unit in Potomac, Maryland. The training coveredvarious

     aspects of federal law enforcement and conducting criminal investigations, including

     the investigation of fraud-related offenses. I have received additional training

     specifically in conducting white collar crime investigations and participated in

     investigations involving fraud at the state and federal level. I have participated in

     multiple investigations which have resulted in criminal arrests and prosecutions.

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Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 2 of 9 PageID# 3
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 3 of 9 PageID# 4
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 4 of 9 PageID# 5
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 5 of 9 PageID# 6
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 6 of 9 PageID# 7
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 7 of 9 PageID# 8
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 8 of 9 PageID# 9
Case 1:17-mj-00009-JFA Document 2 Filed 01/10/17 Page 9 of 9 PageID# 10
